              Case 2:17-cr-00539-RDP-SGC Document 81 Filed 08/20/20 Page 1 of 11                         FILED
                                                                                                2020 Aug-20 PM 02:00
                                  IN THE UNITED STATES DISTRTCT COURT                           U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA
                          •       FOR nm NG~HTERN D18TRieT Of ALAl3.Mi1A          \
                           '
                                            (BIRMINGHAM)


                                                                                       I~
Charles E. Walker                                  )
                                                                                ''·
                                                                           ..~ ~ i ~   i   i)
                                                       Date:
  (PetitionP.r)

          v.                                       )   Case No ..   2~17~CR~539-RDP-SGC

United States Of America
                                                   )
  (Respondant)

Emergency Motion For Compassionate Release Under 18 U.S.C. 3582(C)(1)(A) And

                                 First Sten Act Of 2018


        Petitioner, Pro-Se          Charles E. Walker                  submits this petition

 in light of Attorney General Rarr's recommendation to immediately release

 inmates who are Minimum/Low risk and do not present a danger to anyone

or the community's safety. Therefore I ask for a Modification of Term Of

 Imprisonment and or Reduction In Sentence and or Home Confinement due to

Covid-19 and or other Extraordinary and                Compellin~    reasons below:


 ~1)   Age:
              - - -49- - - - -
 (2) Medical PTSD, High Blood Pressur~, Sleep Apnea, Anemia, and irreg lar
  heart beat, asthma/pnemum6nia, positive test for Covid-19 that resulted

  seizures with temperature of 105.1 and symptoms fever,                  chills, loss appetite

 (3) Family Circumstances             N/A
                                    ~----------------------~----~




 (4) Other Reasons:            Extraordinary and Compelling Reasons I have taken over
 15 Ace and RPP classes for self-improvement and rehabilitation and assisted

 Commissary during modified lockdown at Forrest City-Low. I am eligible for


 minimum security                 , pattern score of 0


                                               1
        Case 2:17-cr-00539-RDP-SGC Document 81 Filed 08/20/20 Page 2 of 11
                                  Other Factors

(1) Nature Of Of,fense Violation of 21\ U.S.C. 841 & 846 Cof\spiracy To
 Possess w/ intent to distribute       Heroin~arl       Cocaine Base




(4) Discipinary Infractions     None
                              ~=..;.--'-=-"=---~~~~~~~~~~~~~~~~~~~~~~~




(7)Inmates Release Plans Stay with Wife of 30 years and reside at

264 Gra.inger Drive- Birmingham, Al. 35214



 (9) Cost Savings C.O.I.F. ~t $37,000.00 per year: Savidg $200,000.00

(10) Other Reasons I have no violence and I do not pose a threat to anyone's
 safety or the community. Previous employment with Birmingham City School              '2

 as a lead Computor Technician for 15 years and my director express interest
 in rehiring upon release.
                                    Conclusion

      Since I am Low Risk an I am Mimi.mum/Low I             reouest a Compassionate

Release, and or Modification Of 'ferm Of Imprisonment and or Home Confinement

as allowed under 18 U.S.C. 3582(c)(1)(a). I have submitted a request

through the Bureau of Prisons and they have denied or failed to respond.

*Everything Stated is True and Correct to the l>est of my knowledge and
 is made under the penalty of perjury and U.S.C. 1746

                                              Res.pectfully.          ~>mi.t
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                                                    ,    l    C
                                                              -   (




                                             Charles E. Walker# 35470-001
                                             F.C.I. Forrest City-Low
                                              P.O. Box 9000

                                              Forrest City, AR.            72336
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TRULINCS 35470001 - WALKER, CHARLES EDWARD JR - Unit: FOR-M-D


FROM: 35470001
TO: Marianna Unit Team
SUBJECT: ***Request to Staff*** WALKER, CHARLES, Reg# 35470001, FOR-M-D
DATE: 07/11/2020 01:36:36 PM

To: RIS Coodinator/DeWayne Hendrix
Inmate Work Assignment: Commissary

To: RIS Coodinator/Warden:DeWayne Hendrix
    Subject: Compassionate Release Under 18 U.S.C. 3582(c)(a)(1 )(i) Due to Extraordinary And Compelling Reasons
             Reduction In Sentence And or Home Confinement And Or Transfer To Minimum Security Facility

    Dear Madam Or Sir,

      I am requesting that the Bureau Of Prisons file a Motion on my behave under 18 U.S.C. 3582(c)(1 )(a) and assist me

    preparation, drafting, and submissions of this request with reasons why/why not this request should/should not be

    Granted. Therefore due to the request of attorney General Barr that those who are eligible and or are low risk and

    Low or minumum Security inmates or have Medical Conditions that put them at High Risk to suffer severe complications

   should be given consideration for immediate Home Confinement.

     The foloowing reasons support a motion be filed on my behave:

   Age: 49

  Medical: I Have PTSD, High Blood Pressure, Sleep Apnea, Anemia, and Irregular Heart Beat, Asthma,/ pnemumonia, also

  I have already had a positive test for Covid-19 and numerous inmates have tested positve and had complication after

  testing positive a second time.

  Family Circumstance: N/A

 Other Reasons: I have over 15 Ace and Rpp classes for self-improvement and rehabilitation and am presently assisting

 commissary during modified lockdown. I am also eligible for minimum security(Camp) due to low pattern score and a custody

classification score of 0.

                                                 Other Factors

(1) Nature Of Offense: Violation of 21 U.S.C. 841 & 846 Conspiracy To Possess w/ intent to distribute Heroin and Cocaine Base

(2) Criminal History: None

(3) Detainers: None

(4) Disciplinary Infractions: None

(5) Length Of Sentence: 87 months

(6) Time Served: 14 months

(7) Inmates Release Plans: I plan to stay with my wife of 30 years and reside in our Home at 264 Grainger Drive- Birmingham

   Ala. 35214
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TRULINCS 35470001 - WALKER, CHARLES EDWARD JR - Unit: FOR-M-D



(8) Victims:None

(9) Cost of Savings: COIF@ $37,000.00 would save the B.O.P. and Federal Goverment Approx. $200,000.00

(10) Other Reasons: I have no violence and I do not pose a threat to anyone's safety or the community, Previous employer

    with Birmingham City Schools said he express interest in rehiring me as a Computor Technician for which I was previously

    employed as for 15 years. My wife also works at the Birmingham City Schools.

                                                 Conclusion

   Since I have previously test positive and suffered severe complications including several seizures I am at a high risk to

   again be exposed and this could be fatal. Over 400 inmates have already tested positve at Forrest City-Low and over 100

   inmates have died due to Covid-19. The CDC and Department Of Health have deem Forrest City as a "Hot Spot"

   Therefore I request Home Confinement and or alternatively transfer to a Minimum security faciltiy.




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                                                                 Charles E. Walker# 35470-001
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TRULINCS 35470001 - WALKER, CHARLES EDWARD JR - Unit: FOR-M-D


FROM: 35470001
TO: Low Education
SUBJECT: ***Request to Staff*** WALKER, CHARLES, Reg# 35470001, FOR-M-D
DATE: 07/21/2020 07:42:29 PM

To: PING
Inmate Work Assignment: COMMISSARYL

HELLO, I NEED HAVE ACCESS TO THE LAW LIBRARY WHEN A OPEN SLOT IS AVAILABLE TO RESEARCH SOME INFO
ON MY CASE THAT IS IN THE COURT. SO I CAN RESPOND TO THE COURTS. THANK YOU IN ADVANCE
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TRULINCS 35470001 - WALKER, CHARLES EDWARD JR - Unit: FOR-M-D


FROM: 35470001
TO: Marianna Unit Team
SUBJECT: ***Request to Staff*** WALKER, CHARLES, Reg# 35470001, FOR-M-D
DATE: 06/17/2020 05:36:20 PM

To: Mrs. Gallard
Inmate Work Assignment: HC Unit Manager

Hello, I am from HC unit housed in MD and I am requesting to speak to my Case manager/Unit Manager from HC (Mr.Williams).
I have put in several Cop-Outs and he has never responded to them. So after this I while exhaust all administrative remedies
under the BOP.
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                                                                          Charles E Walker, Jr.
                                    Affidavit                             CIO Maria A. Walker

                                                                           264 Grainger Drive
                                                                          Birmingham, AL 35214



Honorable Judge R. David Proctor
Hugo L Black United States Court House
1729 5th Avenue North

Birmingham, Al 3 5203



Re: Compassionate Release Petition for Medical Condition due to COVID-19



Dear Honorable Judge Proctor:

My name is Charles E. Walker, Jr. and I am an inmate housed at Forrest City Low Correctional
Facility located in Forrest City, Arkansas. This letter serves as my request for compassionate
release in accordance to the Implementation of 18 U.S.C. § 3582( c )( 1 )(A).

This petition is specially made due to contracting the coronavirus while I have been incarcerated
at Forrest City Correctional Facility. I have several underlining medical conditions such as
PTSD, high blood pressure, sleep apnea, anemia, and an irregular heart. In February 2020, I
started having symptoms of asthma and/or pneumonia, which I have never been diagnosed with
prior to my incarceration. On March 28, 2020, I felt extremely bad, had a fever, body aches and
chills, headache and several other pneumonia like symptoms, so I went to the medical call in the
facility. Nurse Stiles took my temperature which was 105.1 degrees, so she suggested I be taken
to Forrest City Hospital for observation. I was immediately rushed to hospital by ambulance,
they tested me for the coronavirus and sent me back to the facility. I received a positive test
result on April 1, 2020, in which I was the first inmate to test positive for the virus.
On March 28, 2020 when I was taken to the hospital, I was denied by hospital staff to be
admitted, which I asked to be admitted, due to having several symptoms since February 2020.
When I returned back to the facility, I was put into quarantine/isolation, which I stayed in for 5
days and was released around April 7, 2020. During the time I was in isolation, on April 2 Nurse
Stiles was taking my vitals and I had a seizure. I was taken back to the hospital and on that day;
chest x-rays were done, I received IV-treatments and given medicine for hypertension. The
doctor's concluded diagnosis was that I had pneumonia and bronchitis, and at that time I was
administered and prescribed Albuterol for treatment. I advised the medical staff that I received a
positive test result for COVID-19 on the day before which was April 1si, but they still treated me
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for the pneumonia and bronchitis. The hospital denied admission for the second time and they
took me back to the correctional facility and put me back into quarantine/isolation. After 5 days,
I was taken back to my unit HC and put back into general population, during this time I still had
several symptoms such as low grade fever, weakness, chills and loss of appetite. The day I was
put back into population which was April 7, I passed out and had a seizure which I suffered
minor head injuries. On April 8, 2020, I passed out on the way to the restroom and on April 9,
2020, I passed out and had another seizure while in my bunk unit. At this point, I had a total of 4
seizures, which I did not previously suffer with this condition. During the time, my depression
has increased, I have an extremely hard time breathing and I lost 24 pounds in 1Odays.

Since I was the first inmate to test positive for the COVID-19, I was advised that I had to talk to
the BOP Regional administration and the CDC. I provided them an extensive time line of my
illnesses and treatments, which has been outlined in the previous paragraphs. After the BOP &
CDC left the facility, I was immediately put into the shoot/hole for 17days with no explanation
as to why I was placed there. I was taken out on May 5th and placed in the visitation room, which
was set up for other inmates who had tested positive, as well as negative for the COVID-19.

There are several reasons I feel I am not getting well, the units where I am housed have mold, the
air conditioning units does not work, which will help me to breathe better, I am not allow to go
outside to get fresh air, only 4 of the 6 toilets are operable, and 6 showers out of 16 are operable
as well. There are still several employees and inmates who have been tested positive for the
virus, and so far the number has increased to 400 cases. I fear of losing my life, if a second
extensive wave of this virus comes back through the facility, because I am still not back where I
was with my health.

While at Forrest City Correctional facility, I have no detainers, infractions, or disciplinary issues.
I have no points, which has made me eligible for camp level and I have also taken ACE & RPP
classes for a total of 15 classes.

If my compassionate release is granted, I will reside with my wife, Mrs. Maria A. Walker at the
address above, which has been my home for 7 years. I have a degree in Computer Networking
and was employed with the Birmingham City Schools as lead Computer Technician for 15 years
before my incarceration. Upon my departure, my director and I talked about me being able to
return to my old position, upon my release.

Thank you very much for your consideration. I pray you will grant this petition so that I may
return to my home, to be in the care of my medical provider, where I will receive adequate
medical treatment for my conditions.
 -/•Everything stated is true and correct to the best of my knowledge

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C:harles E Walker, Jr. x t:__A~ -e.::?
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                                                        :if
   and is made under the penalty of perjury and U.S.C. !746
Respectfully Submitted,
                                                        /   /;,

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Inmate#: 35470001
 --------------------------------~--------
~F.C.I. Forrest Citv-Low
 P.O. Box 9000
 Forrest City, AR. 72336
 -----------------------------------------
    Case 2:17-cr-00539-RDP-SGC Document 81 Filed 08/20/20 Page 9 of 11




Encl. Copy of cop-out letter (no response from warden) and medical records (from hospital and
correctional facility)
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                                                         7/1/2020
  To: RIS Coordinator/Warden: DeWayne Hendrix
  St1bject: Compassionate Release Under 18 U.S.C. 3582(c)(1)(a)(i)Due To
  Extraordinary And Compellings Reasons and or Modif ic~t~on Of Term Of
  Imprisonment and or Reduction In Sentence or Furlough and or 'fransfer
                                                             ZDLO   ~,.~"' ~;O   P\ l~:   !8
  Dear Madam or Sir,
                                                                          '               .


        I am requesting that the Bureau Of Prisons file• ·a ·petition bh' my

under 18 U.S.C. 3582(c)(1)(a)(i) and assist in preparation, drafting and

submissions of this request with reasons why/why not this request should/

should not be granted. I also request that the applicable staff provide

documents including Program Review , Medical File, and              Ce~tral         File      1



       This request is also under 28 U.S.C. 994(t) based on the following

factors (1) Age (2) Medical (3) Due To Extraordinary and Compelling

Circumstances (4) Due To Family Circumstances

       Tl1e Attorney General Barr requested the Bureau Of Prisons to release

all low risk minimum/low security inmates especially those who have either

have served 2/3 of there sentence and or 11ave serious medical conditions

        Therefore I ask the Director of Bureau Of Prisons submit a motion on

my behave within 30 days or the lapse of 30 days allows the Court to modify

sentences.

                                       RIS Factors

( 1)   Age: 49

(2) MedicBl: PTSD, High Blood Pressure, Sleep Apnea, Anemic:i, and irreS!Ul~r

                 heart becit, asthma/pnemumonia, positive test for Covid-19 tl12t
                 ;~~~1~~ci-i~-~;i~~;~~-;ith-z;~r;;;t~;;-~£-1os~1---------------------
c3)    Due To Family Circumstances

                 --~{~--------------------------------------------------------·-----

(4)    Other Reasons:     I have talzen over 15 ACE and RPP cl2sses for self-

             improvement and rehahi.litc=ition and 2ssi.sted Commi.~rn2rv during:

             modified lockdmrn. I cim eligible for minimum security (C2mp)
             -----~--------~----------------------------------------------------
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                                Other Reasons

~ature Of Offense      Vidlation of 21 U.S.C. -41 & 846 Conspiracy to Possess
---------·-------------------------------------------------------------------
 w/ intent to distribute Heroin anrl Cocaine Base

Detainer: None
----------------------------------------------------------------------------
Disciplinary Infractions      None

--------------------------------------------------------~-------------------




11.ength of Sentence     87 months
--------··-------------------------------------------------------------------
T!m~-~gry~d--~~-~~~E~~------------------------------------------------------
Inmate Release Plans
                         Reside with wife of 30 years at 264 Grainger Drive-
----------------------------------------------------------------------------

Vic.tims None


Cost Of Savings ~t COIF of $37,000.00 a saving of S200,000.00 for the B.0.P.


 and Federal Goverment

Other Reasons   I do not pose a tlireat to anyone or the community and with

 my past Medical History and Complications with Covi.d-19 puts my Health,

 Safety, and Life in Jeapordv as while cis other staff and inmates.

                                       Conclusion

Since I am a low risk end I am mimimun/Iow sec.urity I request a CompassionatE
Release and or Modification of Term Of Imprisonment and or Reduction In

Sentence and or Furlough. and or Tr.:msf er

                                                Respectfully 8jtl>yi/)/ej .,
                                                -~~-L~~17~1
                                                 Charles E. Walker
                                                                               _________ _
                                        Name:
                                        USM #   -354)o:.o"Ln--- ----- -- --- ----- ----- --
                                     Address
                                                F.C.I. Forrest City-Low
                                                P.O. Box 9000
                                                Forrest City 1 AR. 72336
